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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

    In re:

    HULL ORGANIZATION, LLC                                          Case No. 23-32983-acs

                           Debtors1                                 Chapter 11
                                                                    (Jointly Administered)


                         NUNC PRO TUNC APPLICATION TO EMPLOY
                          TRANZON ASSET ADVISORS AS BROKER


             Hull Organization, LLC (the “Debtor”), by proposed counsel, applies to the Court for

nunc pro tunc authorization to employ Durnil Realtors-Auctioneers, Inc. d/b/b Tranzon Asset

Advisors (“Tranzon”) as broker for the sale of real property and improvements commonly

identified as 830 and 834 Ohio Pike (SR 125), Cincinnati, Clermont County, Ohio (the

“Property”). For this Application, Debtor states as follows:

             1.     On December 13, 2023 (the “Petition Date”) Debtor and its affiliates filed

voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”). Pursuant to Bankruptcy Code § 1184, Debtor is empowered to operate

its business as debtor in possession.

             2.     On November 22, 2023, the Jefferson Family Court entered an Order Appointing

Receiver (the “Receivership Order”) in the marital dissolution action styled Nancy Pruitt Hull

v. Robert Ernest Hull (Case No. 20-CI-500489). The Receivership Order appointed Cullen




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 The Debtors in these jointly administered bankruptcy cases and their respective case numbers are as follows:
Hull Organization, LLC (23-32983-acs); Hull Equity, LLC (23-32984); Hull Properties, LLC (23-32985); and 4
West, LLC (23-32987). The Debtors’ headquarters are located at 1902 Campus Place, Suite 9, Louisville,
Kentucky 40299.
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Bilyeu of Bilyeu Enterprises, LLC, and affected, inter alia, Debtor’s management and control

of its properties including the Property.

       3.     In accordance with the Receivership Order, Mr. Bilyeu entered into Real Estate

Commercial Listing Agreement with Tranzon (the “Listing Agreement”) for the Property on

or around November 28, 2023. A copy of the Listing Agreement is attached hereto as Exhibit

A.

       4.     Following execution of the Listing Agreement, Mr. Bilyeu agreed to and

executed an Irrevocable Offer to Purchase for Real Estate Assets (the “Sale Agreement”)

concerning the Property. A copy of the Sale Agreement has been tendered to the Court as

Exhibit A to the Joint Motion to Sell 830 & 834 Ohio Pike, Cincinnati, Clermont County, OH Free

and Clear of Liens [Doc. 24] (the “Sale Motion”) filed by Debtor and Stock Yards Bank & Trust

Company (“SYB”).

       5.     Debtor has proposed to sell the Property pursuant to the Sale Agreement to

enable the claims secured by the Property to be satisfied in full and increase the liquidity of

Debtor’s bankruptcy estate. Notwithstanding the pre-petition nature of the Listing

Agreement, Tranzon may claim a statutory lien against the Property pursuant to Ohio R.C.

§ 1311.86 if the Property is sold without payment of amounts due under the Listing

Agreement.    In order to account for the Court’s oversight of Debtor’s employment of

professionals such as Tranzon, the proposed order accompanying the Sale Motion provides

for instructions to escrow the 6% broker’s commission pending further order of this Court.

       6.     Bankruptcy Code § 327(a) provides, in part, as follows:

              Except as otherwise provided in this section, the trustee, with the
              court’s approval, may employ one or more attorneys,
              accountants, appraisers, auctioneers, or other professional
              persons that do not hold or represent an interest adverse to the
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              estate, and that are disinterested persons, to represent or assist
              the trustee in carrying out the trustee’s duties under this title.

        7.    Although Debtor was not party to negotiations prior to execution of the Sale

Agreement, SYB and Mr. Bilyeu have credited Tranzon with obtaining a higher sale price for

the Property than the proposed purchaser initially offered.

        8.    In support of this Application, Tranzon has tendered the affidavit of Edward

Durnil attached hereto as Exhibit B pursuant to Fed. R. Bankr. P. 2014.

        9.    No previous action for the relief sought herein has been made to this Court.

        10.   Debtor seeks approval of this Application, nunc pro tunc, as of December 13,

2023.

        11.   Debtor reserves its right to seek authorization to employ one or more other real

estate agents or brokers concerning potential sale(s) of other commercial real property that

remains property of its bankruptcy estate.

        WHEREFORE, Debtor respectfully requests that the Court enter an order authorizing

employment of Tranzon Asset Advisors as broker for the sale of the Property.
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                                                Respectfully submitted,

                                                /s/ Tyler R. Yeager
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                                    Certificate of Service

         I certify that on January 9, 2024, the foregoing Nunc Pro Tunc Application to Employ
Tranzon Asset Advisors as Broker was (a) mailed electronically through the Bankruptcy Court’s
ECF system to the electronic addresses as set forth in the ECF system to the United States
Trustee and all other persons receiving electronic notifications in this case, and (b) mailed via
first-class U.S. mail to all persons who have filed a request to receive such notices.

                                                /s/ Tyler R. Yeager
                                                CHARITY S. BIRD
                                                TYLER R. YEAGER
